      Case 2:15-cr-00236-JAM Document 248 Filed 05/25/18 Page 1 of 2


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4                         UNITED STATES DISTRICT COURT

5                       EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,             No.    2:15-cr-236-GEB
8                  Plaintiff,
9         v.                               ORDER PERMITTING SUR-REPLY
10   VANIK MOVSESYAN,
11                 Defendant.
12

13             Defendant    Vanik    Movsesyan     (“Defendant”)       seeks   bail

14   pending appeal under Fed. R. Crim. P. 46(c) and 18 U.S.C. § 3143(b).

15   Bail Mot., ECF No. 229.         The United States of America (“the

16   Government”) opposes the motion.         Opp’n, ECF No. 241.       Defendant,

17   aided by new counsel and through that new counsel, filed a reply

18   to the Government’s opposition, but that reply contains new legal

19   theories for finding the Government in breach of their obligations

20   under the plea agreement not argued in Defendant’s motion.                Reply

21   at 3:1–4:24, ECF No. 247.      “It is improper for a moving party to

22   introduce new facts or different legal arguments in the reply brief

23   than those presented in the moving papers.”        United States ex rel.

24   Giles v. Sardie, 191 F.Supp.2d 1117, 1127 (C.D. Cal. 2000); see

25   also Nevada v. Watkins, 914 F.2d 1545, 1560 (9th Cir.                     1990)

26   (“[Parties] cannot raise a new issue for the first time in their

27   reply briefs.” (citations omitted)).

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      Case 2:15-cr-00236-JAM Document 248 Filed 05/25/18 Page 2 of 2


1              Since new arguments are in the reply, the Government may

2    file a sur-reply brief no later than Friday, June 8, 2018.        See,

3    e.g., Biscotti v. City of Yuba City, No. 2:11-cv-01347-JAM, 2016

4    WL 4096390, at *1 (E.D. Cal. Aug. 1, 2016) (“Plaintiffs filed a

5    reply brief in support of their motion . . . but raised new

6    arguments in this brief.     The Court therefore permitted Defendants

7    to file a sur-reply brief . . . .”).

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               Dated:    May 25, 2018
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